Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 1 of 77 - Page
                                   ID#: 14




                      EXHIBIT A
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 2 of 77 - Page
                                   ID#: 15
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 3 of 77 - Page
                                   ID#: 16
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 4 of 77 - Page
                                   ID#: 17
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 5 of 77 - Page
                                   ID#: 18
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 6 of 77 - Page
                                   ID#: 19
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 7 of 77 - Page
                                   ID#: 20
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 8 of 77 - Page
                                   ID#: 21
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 9 of 77 - Page
                                   ID#: 22
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 10 of 77 - Page
                                   ID#: 23
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 11 of 77 - Page
                                   ID#: 24
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 12 of 77 - Page
                                   ID#: 25
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 13 of 77 - Page
                                   ID#: 26
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 14 of 77 - Page
                                   ID#: 27
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 15 of 77 - Page
                                   ID#: 28
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 16 of 77 - Page
                                   ID#: 29
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 17 of 77 - Page
                                   ID#: 30
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 18 of 77 - Page
                                   ID#: 31
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 19 of 77 - Page
                                   ID#: 32
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 20 of 77 - Page
                                   ID#: 33
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 21 of 77 - Page
                                   ID#: 34
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 22 of 77 - Page
                                   ID#: 35
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 23 of 77 - Page
                                   ID#: 36
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 24 of 77 - Page
                                   ID#: 37
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 25 of 77 - Page
                                   ID#: 38
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 26 of 77 - Page
                                   ID#: 39
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 27 of 77 - Page
                                   ID#: 40
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 28 of 77 - Page
                                   ID#: 41
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 29 of 77 - Page
                                   ID#: 42
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 30 of 77 - Page
                                   ID#: 43
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 31 of 77 - Page
                                   ID#: 44
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 32 of 77 - Page
                                   ID#: 45
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 33 of 77 - Page
                                   ID#: 46
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 34 of 77 - Page
                                   ID#: 47
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 35 of 77 - Page
                                   ID#: 48
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 36 of 77 - Page
                                   ID#: 49
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 37 of 77 - Page
                                   ID#: 50
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 38 of 77 - Page
                                   ID#: 51
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 39 of 77 - Page
                                   ID#: 52
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 40 of 77 - Page
                                   ID#: 53
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 41 of 77 - Page
                                   ID#: 54
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 42 of 77 - Page
                                   ID#: 55
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 43 of 77 - Page
                                   ID#: 56
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 44 of 77 - Page
                                   ID#: 57
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 45 of 77 - Page
                                   ID#: 58
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 46 of 77 - Page
                                   ID#: 59
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 47 of 77 - Page
                                   ID#: 60
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 48 of 77 - Page
                                   ID#: 61
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 49 of 77 - Page
                                   ID#: 62
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 50 of 77 - Page
                                   ID#: 63
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 51 of 77 - Page
                                   ID#: 64
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 52 of 77 - Page
                                   ID#: 65
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 53 of 77 - Page
                                   ID#: 66
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 54 of 77 - Page
                                   ID#: 67
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 55 of 77 - Page
                                   ID#: 68
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 56 of 77 - Page
                                   ID#: 69
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 57 of 77 - Page
                                   ID#: 70
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 58 of 77 - Page
                                   ID#: 71
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 59 of 77 - Page
                                   ID#: 72
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 60 of 77 - Page
                                   ID#: 73
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 61 of 77 - Page
                                   ID#: 74
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 62 of 77 - Page
                                   ID#: 75
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 63 of 77 - Page
                                   ID#: 76
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 64 of 77 - Page
                                   ID#: 77
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 65 of 77 - Page
                                   ID#: 78
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 66 of 77 - Page
                                   ID#: 79
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 67 of 77 - Page
                                   ID#: 80
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 68 of 77 - Page
                                   ID#: 81
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 69 of 77 - Page
                                   ID#: 82
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 70 of 77 - Page
                                   ID#: 83
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 71 of 77 - Page
                                   ID#: 84
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 72 of 77 - Page
                                   ID#: 85
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 73 of 77 - Page
                                   ID#: 86
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 74 of 77 - Page
                                   ID#: 87
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 75 of 77 - Page
                                   ID#: 88
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 76 of 77 - Page
                                   ID#: 89
Case: 2:19-cv-00064-DLB-CJS   Doc #: 1-1 Filed: 05/22/19   Page: 77 of 77 - Page
                                   ID#: 90
